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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,                                     Criminal No. 07-578

        v.                                                          OPINION

 SHARPE JAMES,                                          HON. WILLIAM J. MARTINI

              Defendant.



 WILLIAM J. MARTINI, U.S.D.J.:

       This matter comes before the Court on Defendant Sharpe James’s second motion

 for a new trial, pursuant to Federal Rule of Criminal Procedure 33(a). For the reasons

 that follow, Defendant’s second motion for a new trial will be DENIED.

 I.    FACTUAL AND PROCEDURAL BACKGROUND

       On July 12, 2007, a federal Grand Jury indicted Defendant Sharpe James on 25

 Counts related to misuse of his authority as Newark’s then-Mayor and a New Jersey State

 Senator. The Indictment alleged Defendant (1) improperly used City of Newark-funded

 credit cards and (2) improperly steered sales of discounted City-property to a companion;

 and while a Senator, shepherded legislation to increase his power as Mayor to cede

 property in this manner.

       Prior to trial, the Court severed the credit card fraud charges, as reflected in the

 five-count Redacted Indictment filed on February 11, 2008. Trial commenced with jury
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 selection on February 26, 2008. Seven weeks later, on April 16, 2008, the jury convicted

 Defendant of Mail Fraud (Counts 1 to 3); Fraud Involving Local Government Receiving

 Federal Funds (Count 4); and Conspiracy to Defraud the Public of Honest Services

 (Count 5) in violation of Title 18, United States Code, Sections 1341, 666(a)(1)(A), and

 371, respectively.

        After trial, Defendant moved for a judgment of acquittal and new trial pursuant to

 Rules 29 and 33 of the Federal Rules of Criminal Procedure. On July 24, 2008, this Court

 denied both motions, and on July 29, 2008, sentenced Defendant to 27 months

 imprisonment plus three years supervised release. Thereafter Defendant appealed his

 conviction.

        On September 16, 2010, the United States Court of Appeals for the Third Circuit

 affirmed the conviction on all counts, except reversing the honest services conspiracy

 count in light of the Supreme Court’s June 2010 decision in Skilling v. United States, 130

 S. Ct. 2896 (2010). The parties agreed a re-sentencing hearing was not required as the

 Third Circuit substantially affirmed Defendant’s conviction.

        A.     Defendant’s Present Rule 33 Motion

        Presently, Defendant moves for retrial claiming that newly discovered evidence

 shows one of the jurors, Kenneth Asuquo, should have been excused for cause, and

 because he was not, Defendant did not receive a fair trial. Specifically, Defendant claims

 that during voir dire, Mr. Asuquo failed to disclose that his mother and step-father were


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 employees of the City of Newark at the time of trial,1 and that this fact was material to

 Mr. Asuquo’s impartiality and fitness to serve. (Def. R. 33 Mot. Br., at 2-3, 6, ECF No.

 199.)

         B.     Jury Selection Prior to Trial

         The Court took careful steps to ensure a fair and impartial jury. Jury selection in

 this matter involved a two-step voir dire process (“Phase-One” and “Phase-Two”). In

 Phase-One, prospective jurors completed a questionnaire drafted by the parties and the

 Court consisting of 38 questions, which probed prospective jurors’ knowledge of and any

 interactions with Defendant James and the City of Newark. The pertinent Phase-One

 questions and Mr. Asquo’s responses follow:

         11(a). Do you personally know, or do you have any immediate family members or close
         friends who know, either of the defendants or any members of their families?
                 A:    No

         16. Have you or any member of your immediate family ever had any business or
         other dealings with the City of Newark?
                A:      No

         19. Have you or any member of your immediate family lived in Newark in the past
         25 years? If yes, please briefly explain who lived in Newark, when, and for how
         long.
                A:      Yes. [Lists step-father, mother, and an additional relative along with their
                        respective years of residence]

         21. Before today, had you heard or read anything about Sharpe James or Tamika Riley
         [James’ co-defendant] as it pertains to this case? If yes, where did you hear or read about
         it (check all that apply): TV, Newspaper, Magazine, Radio, Internet, Other_____.


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          His mother became a City of Newark employee in 1989; his step-father became one in
 1995. At the time of trial, approximately 4,261 people were employed by the City. (Gov’t Br. in
 Opp. at 4, ECF No. 205.)

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              A:        Yes. [Checked Newspaper].

       22. Have you, any member of your immediate family, or any close friend ever been
       involved with a political campaign in opposition to or in support of Sharpe
       James?
              A:     No.

       33. Have you or any member of your immediate family ever been an officer or
       employee of the federal government or of any state, county, or municipal
       government?
              A:     Yes.

       (Gov’t Br. in Opp., Ex. 1.)


       While the questionnaire never specifically asks if any family members are

 employees of the City of Newark, Defendant contends that Mr. Asuquo should have

 disclosed his parents’ employment history in response to Question 16. Although Mr.

 Asuquo responded ‘No’ when asked whether any “immediate family ever had any

 business or other dealings with the City of Newark” (Question 16), Mr. Asuquo truthfully

 offered that close relatives worked in some government capacity, (Question 33), and

 listed their names when asked if immediate family members lived in Newark for over 25

 years (Question 19).

       The Court provided parties with a full set of completed Phase-One questionnaires,

 and entertained parties’ challenges for cause based on jurors’ responses. In Phase-Two,

 the Court individually questioned the remaining prospective jurors, including Mr.

 Asuquo, on the record. Throughout Phase-Two, the parties were in possession of the

 completed Phase-One questionnaires, and able to request that the Court ask potential


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 jurors additional questions and probe further based on their Phase-One responses. (Gov’t

 Br. in Opp. 5.)

        When individually questioned by the Court, Mr. Asuquo appeared forthright in

 responding to the Court’s inquiries, and, despite having some familiarity with the case,

 repeatedly affirmed his ability to remain fair and impartial. (Voir Dire Hr’g Tr. 5-12,

 Feb. 28, 2008.) When asked about living in Newark for 26 years and whether he knew

 Defendant personally, Mr. Asuquo candidly told the Court of his limited interaction with

 Defendant 10 years prior as a high-school student. The Government took that opportunity

 to request that the Court ask questions clarifying the extent of that interaction, and Mr.

 Asuquo obliged by explaining that along with fellow students, he interviewed Defendant

 as part of a school project. Defendant, on the other hand, despite having the same

 opportunity, failed to request that the Court probe further into Mr. Asuquo’s close ties to

 Newark, as demonstrated by his Phase-One responses.

        Throughout jury selection, the Court and all parties remained satisfied with Mr.

 Asuquo’s ability to be a fair and impartial juror, and as a result, he was selected to serve.

 In spite of Mr. Asuquo’s full and seemingly candid participation during jury selection,

 Defendant now alleges that Mr. Asuquo “either through inadvertence or purposeful falsity

 failed to disclose in voir dire that both of his parents were employed by the City of

 Newark at the time of trial.” (Def. R. 33 Mot. at 2-3.) That allegation forms the sole basis

 for Defendant’s motion for re-trial. Defendant posits that Mr. Asuquo may have been


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 biased because his parents were Newark employees, and given his concern for parents’

 continued employment, Mr. Asuquo may have felt “pressure from adverse political forces

 [who controlled his parents job security] or hidden bias if his parents felt mistreated by

 me.” (James Aff., April 4, 2011, in Support of R. 33 Mot. (“James Aff.”), ¶ 3.)

 Defendant further asserts that at the very least, these allegations require the Court to hold

 an evidentiary hearing on Mr. Asuquo’s potential bias.



 II.    DISCUSSION

        Federal Rule of Criminal Procedure 33(a), allows the Court, upon Defendant’s

 motion to “vacate any judgment and grant a new trial if the interest of justice so requires.”

 For Defendant to obtain a new trial because Mr. Asuquo failed to disclose material

 information during voir dire, Defendant must satisfy both prongs of the test articulated by

 the Supreme Court in McDonough Power Equip., Inc. v. Greenwood, 464 U.S. 548, 555

 (1984). Specifically, Defendant has the burden to show that Mr. Asuquo “[1] failed to

 answer honestly a material question on voir dire and then [2] further show that a correct

 response would have provided a valid basis for a challenge for cause.” McDonough at

 555; United States v. Hodge, 321 F.3d 429, 441 (3d Cir. 2003). In applying this standard,

 the Court is mindful that potential jurors’ “motives for concealing information may vary,

 but only those reasons that affect a juror’s impartiality can truly be said to affect the

 fairness of a trial.” McDonough at 555. Thus, the fundamental issue presently before the


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 Court is whether Defendant was fairly tried by an impartial jury, or whether, instead, Mr.

 Asuquo’s alleged bias against Defendant was of such a nature that Defendant did not

 receive a fair trial.

        With regards to Defendant’s claim that an evidentiary hearing as to Mr. Asuquo’s

 potential bias is warranted, the Court starts with the proposition that holding a post-trial

 evidentiary hearing2 to address Defendant’s claim of juror misconduct is disfavored.

 United States v. Gilsenan, 949 F.2d 90, 97 (3d. Cir. 1991) (courts should “always [be]

 reluctant to haul jurors in after they have reached a verdict in order to probe for potential

 instances of bias, misconduct or extraneous influences.”). As such, Defendant’s

 allegations of Mr. Asuquo’s exposure to prejudicial extra record information does not

 automatically entitle Defendant to such an evidentiary hearing. United States v. Gilsenan,

 949 F.2d 90, 97 (3d. Cir. 1991). Instead, a post-trial evidentiary hearing should be held

 “only [if Defendant] comes forward with ‘clear, strong, substantial and incontrovertible

 evidence’” demonstrating that juror misconduct occurred. United States v. Sattar, 395 F.

 Supp. 2d 66, 73 (S.D.N.Y. 2005) (quoting United States v. Ianniello, 866 F.2d 540, 543

 (2d. Cir. 1989)), aff’d sub nom. United States v. Stewart, 590 F.3d 93 (2nd Cir 2009),

 cert. denied 130 S.Ct. 1924 (2010).

        A.      Mr. Asuquo Provided Truthful Answers on Voir Dire


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           The scope of the Court’s inquiry at such a hearing would be limited to consideration of
 whether “extraneous information was improperly brought to the jury’s attention or whether any
 outside influence was improperly brought to bear upon any juror.” Fed. R. Evid. 606(b).

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        Under the first McDonough prong, Defendant must show Mr. Asuquo failed to

 answer honestly a material question on voir dire. Put another way, Defendant must

 demonstrate that during jury selection, Mr. Asuquo provided an affirmative dishonest

 response. United States v. Holck, 398 F. Supp. 2d 338, 360 (E.D. Pa. 2005). A juror’s

 mistaken, but honest answer does not satisfy this threshold. United States v. Greig, 133

 F. Supp. 2d 697 at 699-700, aff’d sub nom. United States v. Hodge, 321 F.3d 429, 441 (3d

 Cir. 2003) (juror’s failure during voir dire to respond to the court’s inquiry asking all

 jurors: “Do any of you know, or are you related to [Defendant]?” was honest – although

 perhaps mistaken – where after trial, juror testified that she knew defendant from an adult

 education class but did not respond to the court’s inquiry because she interpreted the

 question as asking whether she knew defendant personally).

        Defendant’s motion focuses on Mr. Asuquo’s ‘No’ response to Question 16 which

 asked if immediate family members had “business or other dealings with the City of

 Newark.” However, Defendant ignores that Mr. Asuquo undisputedly provided truthful

 answers to the other questions in the Phase-One questionnaire, where he specifically

 indicated that immediate family members worked in government, were long-time Newark

 residents, and even provided the names of those family members employed by the City;

 and that in Phase-Two, Defendant failed to request that the Court probe further into those




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 responses to assess Mr. Asuquo’s candor and ability to serve as an impartial juror.3

        Furthermore, the Court agrees with the Government that Question 16 is at best,

 imprecise. That question, in its entirety, reads as follows: “Have you or any member of

 your immediate family ever had any business or other dealings with the City of Newark?”

 At the core of the question is the non-exhaustive, vague phrase “business or other

 dealings.” In light of the imprecise phrasing, the Court is satisfied that whether his

 parents’ municipal employment qualified as “business or other dealings” is unclear, and

 that any juror in Mr. Asuquo’s position could reasonably respond ‘Yes’ or ‘No’ to

 Question 16. See United States v. Boender, 719 F. Supp. 2d 951 (N.D. Ill. 2010) aff’d

 649 F.3d 650 (7th Cir. 2011) (juror’s non-response to court’s voir dire inquiry whether he

 had “dealings with any City of Chicago department or elected officials” was proper

 because nothing in the language used in the question put juror on notice that a thirty-year

 old traffic incident was considered a “dealing” with a city agency, its personnel, or its

 officers). The phrase’s ambiguity becomes more apparent given that Question 33

 subsequently asked if Mr. Asuquo’s immediate family members worked in government.

        Based on the foregoing, even if the Court were to accept Defendant’s assertion

 that Mr. Asuquo incorrectly responded ‘No’ to Question 16, the Court cannot accept

 Defendant’s unsupported claim that Mr. Asuquo’s response was not an honest one.


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           That opportunity was available to Defendant as demonstrated by the Court’s
 further inquiries into Mr. Asuquo’s interaction with Defendant ten years prior to trial at
 the request of the Government.

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 Hodge at 441. Defendant’s singular focus on the response to one imprecisely worded

 question is misplaced, and ignores Mr. Asuquo’s otherwise unquestioned candor and

 truthfulness about his close ties to Newark throughout voir dire. In sum, Defendant has

 failed to show that during jury selection, Mr. Asuquo provided an affirmatively dishonest

 statement to the Court as required by the first McDonough prong, and Defendant’s motion

 for a new trial fails on this basis alone.

        B.      Defendant’s Knowledge that Mr. Asuquo’s Parents Were City of
                Newark Employees Would Not Have Provided a Basis to Challenge for
                Cause

        Additionally, Defendant’s motion fails under the second McDonough prong

 because even if Mr. Asuquo answered Question 16 as Defendant asserts he should have,

 Mr. Asuquo’s response would not have provided Defendant with a basis to challenge Mr.

 Asuquo’s presence on the jury for cause. Even assuming, arguendo, that Mr. Asuquo

 intentionally lied to the Court about his parents’ employer, Defendant has failed to

 present new evidence that Mr. Asuquo did so to serve as a biased and prejudicial juror.

 See McDonough at 556 (“The motives for concealing information may vary, but only

 those reasons that affect a juror’s impartiality can truly be said to affect the fairness of a

 trial.”); see also, United States v. Stewart, 433 F.3d 273, 305 (2d Cir. 2006) (even if

 juror’s voir dire responses were false, defendant still must demonstrate that true or correct

 responses support the inference that the juror was biased or prejudicial against the

 defendant or had prejudged the evidence). As previously noted, the Court and the parties


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 were fully satisfied with Mr. Asuquo’s ability to serve as an impartial juror, and there is

 nothing on the record, during voir dire or trial, to suggest Mr. Asuquo’s jury service was

 in any way biased.

        Nonetheless, Defendant now claims that had he known Mr. Asuquo’s parents were

 hired by Defendant and were Newark municipal employees at the time of trial, he would

 have challenged Mr. Asuquo for cause. (James Aff., ¶ 3.) A successful challenge for

 cause would in turn require a determination that Mr. Asuquo had actual, implied or

 inferred bias or impartiality, as demonstrated through a “personal relationship with a

 party, witness or attorney in litigation, or a biased state or mind concerning a party or

 issue in case.” U.S. v. Holck, 398 F. Supp. 2d 338, 362 (E.D. Pa. 2005) (quoting United

 States v. Greer, 285 F. 3d 158, 171 (2d Cir. 2002)); Abiff v. Gov’t of Virgin Islands, 313

 F. Supp. 2d 509 at 513 (D.Vi. 2004). However, Defendant has failed to present any

 evidence that during his service as a juror, Mr. Asuquo was unable to “‘faithfully and

 impartially apply the law’.” United States v. Calabrese, 942 F.2d 218, 223 (3d Cir. 1991)

 (quoting United States v. Salamone, 800 F.2d 1216 (3d Cir.1986).

        To begin with, evidence of Mr. Asuquo’s parents’ occupation, standing alone, is

 insufficient to conclude that Mr. Asuquo was biased. See United States v. Marji, 158

 F.3d, 60, 62 (2d Cir. 1998) (“It is well settled that juror not known to have actual bias is

 not excludable merely because he or she is a member of a particular occupation.”).

        Moreover, Mr. Asuquo’s parents were two employees in a municipal workforce of


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 over 4,000 persons. Their relationship to Defendant, much less that of their son, is too

 attenuated for the Court to have inferred Mr. Asuquo’s bias was such that there was cause

 to remove him as a juror. See United States v. Kelton, 518 F.2d 531 (8th Cir. 1975)

 (juror’s acquaintance with defendant’s family was too attenuated to support finding of

 “actual prejudice.”); and United States v. Todman, 117 Fed.Appx. 824, 827 (3d Cir. 2004)

 (no actual or implied bias where during voir dire, juror informed court that defendant’s

 attorney was opposing counsel against her employer in an unrelated administrative

 proceeding, after juror assured the court she could remain fair and impartial, and with the

 benefit of direct questioning and observation, the court determined that juror was credible

 and unbiased; additionally the court found that any bias inherent to juror’s employment as

 a legal assistant was too attenuated to constitute bias).

          A recent unreported decision, U.S. v. Bangiyev, 2008 WL 4240005 (E.D.N.Y.

 2008), is particularly instructive in determining whether Defendant has satisfied the

 second McDonough prong. There, defendant asserted that had an attorney/law professor

 juror fully disclosed his academic credentials and experience as a litigator during voir

 dire, he would have challenged that juror’s inclusion for cause. The Bangiyev Court held

 that defendant failed to meet his burden under the second McDonough prong because the

 juror would not have been removable for cause based on his occupation, and no evidence

 indicated juror harbored any bias against defendant.4 Additionally, the court found

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              The Bangiyev Court also held that defendant’s motion failed under the First McDonough
 prong.

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 defendant’s claim that he was denied his right to exercise a peremptory challenge to be

 without merit where defense counsel did not seek further inquiry about the jurors work

 experience and academic background after he told the court during voir dire that he had a

 law degree and was a professor of political science. On those facts, the Bangiyev Court

 denied defendant’s Rule 33 motion without a hearing.

        As in Bangiyev, Mr. Asuquo was not removable for cause because there was no

 indication that Mr. Asuquo was biased against Defendant on the basis of his parents’

 employment with the City of Newark. Mr. Asuquo repeatedly affirmed his ability to

 remain impartial, and all parties as well as the Court were satisfied with those

 affirmances. Defendant’s Rule 33 motion fails to present any objective evidence to the

 contrary. Furthermore, Mr. Asuquo provided Defendant with substantial information

 about his close-ties to Newark through his Phase-One answers, but Defendant failed to

 further inquire into the extent of those ties. In sum, and for substantially the same reasons

 offered by the Bangiyev Court, Defendant’s Rule 33(a) motion also fails under the second

 McDonough prong.

        C.     No Evidentiary Hearing is Necessary to Assess Mr. Asuquo’s
               Impartiality as a Juror

        Defendant’s present motion is based on his unsupported ad speculative claim that

 Mr. Asuquo may have felt “pressure from adverse political forces exerted on the juror or

 hidden bias if his parents felt mistreated by me.” (James Aff., ¶ 3.) Defendant cites

 United States v. Colombo, 869 F.2d 149 (2d Cir. 1989), to show that at the very least, an

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 evidentiary hearing is now warranted to determine whether Mr. Asuquo’s jury service

 was impartial. As a threshold matter, the Court reiterates that evidentiary hearings of the

 kind requested by Defendant are disfavored, and granting such a request is only

 appropriate in the exceptional case. Gilsenan,, 949 F. 2d at 97; see also, United States v.

 Moon, 718 F.2d 1210, 1234 (2d Cir. 1983) (an evidentiary hearing is not to be used by a

 convicted defendant as an opportunity to conduct a fishing expedition); and United States

 v. Boender, 719 F. Supp. 2d 951, 963, 966 (N.D. Ill. 2010) aff’d 649 F.3d 650 (7th Cir.

 2011) (an evidentiary hearing regarding a juror’s responses in voir dire “is not warranted

 where only scant evidence of dishonesty or misconduct has been presented”).

        Defendant’s reliance on Columbo is misplaced. In Columbo, defendants’ Rule 33

 motion was supported by an alternate juror’s affidavit stating that the juror in question

 confided in her that she affirmatively lied in voir dire about her brother being an attorney

 for fear that would make her ineligible to serve on the jury, and failed to disclose her

 familiarity with a location frequented by defendants which she described to other jurors as

 a “hang out for gangsters.” Id. at 150.

        Defendant’s motion, on the other hand, is unsupported by any objective evidence

 suggesting that Mr. Asuquo’s attenuated connections to Defendant made him biased or

 partial. The speculative evidence presented by Defendant is a far cry from the compelling

 evidence in Colombo suggesting potential juror bias.5 As such, the circumstances

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         Columbo was indeed an exceptional case. See United States v. Bangiyev, 2008 WL
 4240005, at *7 (E.D.N.Y. 2008) (noting that Columbo in the only case remanded by the Second

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 presented by Defendant’s present motion do not constitute one of those rare instances

 where the Court needs to recall discharged jurors to hold a hearing. United States v.

 Gilsenan, 949 F.2d 90, 97 (3d. Cir. 1991); see also, United States v. Sattar, 395 F. Supp.

 2d 66, 74 (S.D.N.Y. 2005) (“[t]here is no reasonable basis to conclude that [allegedly

 biased juror’s] responses under oath were not truthful, that he could not accept the legal

 principles he was required to accept, and that he decided the case based solely on the facts

 and the law. [The juror at issue] served conscientiously during a lengthy trial and there is

 no basis to require him to answer further questions.”)

        In short, Defendant has failed to present any clear, strong, substantial or

 incontrovertible evidence of juror impropriety and accordingly, Defendant’s request for

 an evidentiary hearing is DENIED.



 III.   CONCLUSION

        For the reasons stated above, Defendant’s second motion for a new trial, is

 DENIED. An appropriate Order accompanies this Opinion.


                                               s/ William J. Martini
                                               WILLIAM J. MARTINI, U.S.D.J.

 Date: October 25, 2011




 Circuit for an evidentiary hearing on the basis of juror has never found reason to overturn a
 verdict on the basis of juror nondisclosure under McDonough).

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